270 F.2d 390
    James L. BAXTER, Guardian of William C. Pryor, Jr., a Minor; and James L. Baxter, in His Own Right as Guardian of the Estate of William C. Pryor, Jr., a Minor, Appellant,v.Benjamin COOPER.
    No. 12858.
    United States Court of Appeals Third Circuit.
    Argued September 22, 1959.
    Decided September 28, 1959.
    
      Appeal from the United States District Court for the Eastern District of Pennsylvania; George A. Welsh, Judge.
      Joseph D. Shein, Philadelphia, Pa., for appellant.
      Joseph Head, Jr., Philadelphia, Pa. (Swartz, Campbell &amp; Henry, Philadelphia, Pa., on the brief), for appellee.
      Before GOODRICH, STALEY and HASTIE, Circuit Judges.
      PER CURIAM.
    
    
      1
      This is a case in which recovery for personal injuries is being sought by a guardian of a minor child. Jurisdiction is based on diversity. The injury was sustained in an automobile accident in which the plaintiff claims that the defendant was at fault. The case was tried to a jury which returned a verdict for the defendant. The trial judge refused a motion for a new trial. Keeping in mind our limited function in such a case, it is clear to us that the jury's finding was based on testimony which, if accepted, would sustain the verdict. The jury did accept the testimony and we cannot say that it was unreasonable in doing so.
    
    
      2
      The judgment of the district court will be affirmed.
    
    